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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
                           COURT FILE NO.: CV-07-03966 MJD-SRN


Robin Gipson,

        Plaintiff,
v.                                                           ORDER OF DISMISSAL
                                                              WITH PREJUDICE
American Coradius International, LLC
and Joseph Marzulli,

                Defendants.


                                             ORDER

        Based on the NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE filed by

 Plaintiff herein, this Court hereby orders that the Plaintiffs’ Complaint against these Defendants,

 shall be, and herewith is, dismissed with prejudice without costs, or disbursements, or attorneys’

 fees to any party.

        LET JUDGMENT BE ENTERED ACCORDINGLY.



 Dated: January 22, 2008                      s/Michael J. Davis
                                              HON. JUDGE MICHAEL J. DAVIS
                                              United States District Court Judge
